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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
UNITED STATES OF AMERICA CASE NO. 1:09-CR-00109-01
VERSUS JUDGE DRELL
WALTER JOSE MIRANDA (01) MAGISTRATE JUDGE PEREZ-MONTES
ORDER

Before the court is a motion to reduce sentence filed by defendant Walter Jose Miranda
(“Defendant” or “Miranda”), acting pro se (Doc. 124). Approximately nine (9) months after this
motion was filed, the Federal Public Defender for the Western and Middle Districts of Louisiana
enrolled on his behalf. (Doc. 129). At the direction of the undersigned, the government and
defense counsel recently submitted a response to the pending motion. (Docs. 130, 131). The joint
response filed by the government and defense counsel suggests that Miranda’s pro se motion
should be denied because he is ineligible for sentence reduction under Amendment 782 to the U.S.
Sentencing Guidelines. (Doc. 131). After review of the pending motion, joint response, and
remainder of the record in this case the court agrees.

As asserted by both the government and defense counsel, the calculation of Miranda’s
sentencing guideline range did not involve use of drug offense conduct guidelines found at
U.S.S.G. § 2D1.1, but rather Miranda’s offense conduct guideline derived from U.S.S.G. §2P1.2
based on his status as an inmate at a prison or correctional facility. United States v. Flores, 782
Fed. Appx. 310, 311 (5 Cir. 2019) citing United States v. Quintanilla, 868 F.3d 315, 318-22 oe
Cir. 2017) cert. denied, 138 S.Ct. 1283 (2018) (denying application of Amendment 782 to U.S.S.G.

where inmate’s sentence was the result of his career offender status, rather than drug quantity

tables found at § 2B1.1).

 
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Based on the foregoing, the court finds that Miranda is ineligible for sentence reduction
under Amendment 782 because he was not sentenced under a provision as to which Amendment
782 applies. Accordingly, it is hereby

ORDERED that Defendant’s pending motion to reduce sentence (Doc. 124) is DENIED.

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SIGNED this ZO day of October, 2020 at Alexandria, Louisiana.

 

 

DEE D. DRELL, JUDGE
UNITED STATES DISTRICT COURT

 
